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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA           )
                                   )        CRIMINAL ACTION NO.
    v.                             )           2:12cr48-MHT
                                   )             (WO)
MICHAEL SMITH                      )

                                ORDER

    It is ORDERED that the motions in limine (doc. nos.

309, 337, and 340) are granted in part and denied in part

as set forth by the court during the trial of this case.

    DONE, this the 26th day of June, 2013.

                                       /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
